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Case 1:20-cv-06360-DG-SJB Document 1-1 Filed 12/30/20 Page 1 of 13 PagelD #: 4

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF

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Plaintif#/Petitioner,

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NOTICE OF ELECTRONIC FILING
(Mandatory Case)
(Uniform Rule § 202.5-bb)

 

You have received this Notice because:

1) The Plaintiff/Petitioner, whose name is listed above, has filed this case using the
New York State Courts E-filing system ("NYSCEF”), and

2) You are a Defendant/Respondent (a party) in this case.

® If you are represented by an attorney:
Give this Notice to your attorney. (Attorneys: see “Information for Attorneys” pg. 2).

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You will be served with all documents in Paper and you must serve and file your
documents in paper, unless you choose to participate in e-filing.
If you choose to participate in e-filing, you must have access toa computer and a
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To find legal information to help you represent yourself visit www.nycourthelp.gov

Information for Attorneys
(E-filing is Mandatory for Attorneys}

An attorney representing a party who is served with this notice must either:

1) immediately record his or her representation within the e-filed matter on the

NYSCEF site www. nycourts.gov/efile ; or

2) file the Notice of Opt-Out form with the clerk of the court where this action is
pending and serve on all parties. Exemptions from mandatory e-filing are limited to
attorneys who certify in good faith that they lack the computer hardware and/or
scanner and/or internet connection or that they lack (along with all employees subject
to their direction) the knowledge to operate such equipment. [Section 202.5-bb(e)]

For additional information about electronic filing and to create a NYSCEF account, visit the
NYSCEF website at www.nycourts.gov/efile or contact the NYSCEF Resource Center

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NYSCEF boc. NO. 1

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RECEIVED NYSCEF: 10/26/2020

SUPREME COURT OF THE STATE OF NEW YORK

 

COUNTY OF KINGS Index No.:
x
MENACHEM EZAGUI Date Purchased:
Plaintiff designates
Plaintiff, KINGS County as the
place of trial.
-against- The basis of venue is
the residence of the plaintiff,
MENACHEM EZAGUI,
706 Eastern Parkway
Brooklyn, NY 11213
THE CITY OF NEW YORK, POLICE OFFICER
McCANN, Shield # 14257, POLICE OFFICER JOHN
DOE,
SUMMONS
Defendants.
Date Filed:
x

 

To the above-named Defendant(s):

YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve a
copy of your answer, or, if the complaint is not served with this summons, to serve a notice of
appearance, on the Plaintiffs Attorney within twenty (20) days after service of this summons,
exclusive of the day of service (or within 30 days after the service is complete if this summons is not
personally delivered to you within the State of New York); and in case of your failure to appear or
answer, judgment will be taken against you by default forlthe relief demanded in the complaint.

DATED: Brooklyn, New York
October 25, 2020

 

 

DAVY A. ZELMAN, ESO
709 Egstern Parkway
Brookivn, New York 11213
(718) 604-3072
 

 

NYSCEF DOC. NO. 1

of Defendants’ addresses:

THE CITY OF NEW YORK
106 Church Street
Brooklyn, NY 10007

POLICE OFFICER McCANN, Shield # 14257, and
POLICE OFFICERS JOHN/JANE DOE(S) #8 1-10,
all residing at:

60th Precinct

2951 West 8th Street

Brooklyn, NY, 11224-3615

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NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 10/26/2020

 

 

 

o—~ SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF KINGS
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MENACHEM EZAGUI,
Plaintiffs, COMPLAINT
-against-

PLAINTIFFS DEMAND
TRIAL BY JURY

THE CITY OF NEW YORK, POLICE OFFICER
McCANN, Shield # 14257, POLICE OFFICER JOHN
DOE,

Defendants,
x

 

Plaintiff MENACHEM EZAGUI, for his complaint, by his attommey DAVID A.
ZELMAN, ESQ., and upon information and belief respectfully alleges as follows:
I. PRELIMINARY STATEMENT
l. This is a civil rights action in which Plaintiff MENACHEM EZAGUI seeks damages to
redress the deprivation, under color of stale law, of rights secured to them under the
Fourth, Fifth, Sixth, and Fourteenth Amendments of the United States Constitution. It is
alleged that Defendants assaulted plaintiff and used excessive force. As a result, Plaintiffs
suffered physical, psychological and economic damages.
Il. PARTIES
2. Plaintiff MENACHEM EZAGUL at all times relevant hereto resided in Brooklyn, New

York.

has

Defendant CITY OF NEW YORK (hereinafter “CITY”) is a municipal corporation,
incorporated pursuant to the laws of the State of New York, which operates the New
York City Police Department (hereinafter “NY PD”). and as such is the public employer

of the Defendant officers herein.
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—s 4, Defendant POLICE OFFICER McCANN, Shield #14257 (hereinafter “McCANN”) was
a NYPD police officer, and at ail times relevant hereto, acted in that capacity as agent,
servant, and/or employee of Defendant CITY and within the scope of their employment.
Defendant McCANN is sued in his official and individual capacity.

5, Defendant POLICE JOHN DOE (hereinafter “DOE”) was a NYPD police officer, and at
all times relevant hereto, acted in that capacity as agent, servant, and/or employee of
Defendant CITY and within the scope of their employment. Defendant DOE is sued in his
official and individual capacity.

6. At all relevant times hereto, Defendants were acting under the color of state and local
law. Defendants are sued in their individual and official capacities. At all relevant times
hereto, Defendant CITY was responsible for making and enforcing the policies of NYPD
and was acting under the color of law, to wit, under the color of the statutes, ordinances,
regulations, policies, customs and usages of the State of New York and/or the City of
New York.

Hl. FACTS

7, On or about May 30, 2020, at approximately 10:35 p.m, Plaintiff EZAGUI was present
in front of 2273 Church Avenue, Brooklyn New York observing a protest which was
occurring at the time. Plaintiff was not a protestor but was lawfully present observing the
street encounter between police and protestors.

8. At one point during the evening, police officers with shields, including the defendants
herein, charged the crowd. EZAGUI was standing near a gate when several police

officers passed him.

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Officer JOHN DOE purposely charged and assaulted EZAGUI causing him te fall
without provocation or reason. Defendant McCANN was standing close to defendant
JOHN DOE when the assault took place.

Officer JOHN DOE and defendant McCANN left EZAGUI’s presence and plaintiff was
eventually taken by ambulance to a hospital. EZAGUI was never cuffed or charged with
a crime.

EZAGUI was seriously injured requiring multiple surgeries and a long recuperation
period with permanent/life altering injuries.

That heretofore and on the 19th day of June, 2020, Plaintiffs’ Notice of Claim and Intention
to sue was duly served upon and filed with the CITY; said Notice was filed within ninety
(90) days after the cause of action herein accrued and set forth Plaintiffs’ names, the nature
of the claim, the time and place of the incident, the manner in which the claim arose and
the items of damage and injuries sustained.

That at least thirty (30) days have elapsed since the demand or claim upon which these
actions are predicated was presented to CITY for adjustment or payment thereof and that
it has neglected and/or refused to make adjustment or payment thereof.

I. FIRST CAUSE OF ACTION
Pursuant to §1983 (EXCESSIVE FORCE)

 

Paragraphs | through 13 are hereby realleged and incorporated by reference herein.
That the incident that resulted from the intentional application of physical force by
Defendants constituted a seizure. That the use of excessive force in effectuating the
seizure was unreasonable under the circumstances.

That Defendants had no legal cause or reason to use excessive force.

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That Defendants violated EZAGUI’s Fourth and Fourteenth Amendment rights to be free
from unreasonable seizures when they used excessive force against them.

That at the time of the seizure, EZAGUI did not pose a threat to the safety of the officers.
That EZAGUI was not actively resisting arrest or attempting to evade arrest.

That Defendant CITY, through its officers, agents, and employees, unlawfully subjected
EZAGUI to excessive force.

That Defendants’ actions were grossly disproportionate to the need for action and were
unreasonable under the circumstances.

That by reason of Defendants’ acts and omissions, acting under color of state law and
within the scope of his authority, in gross and wanton disregard of EZAGUI’s rights,
subjected EZAGUI to excessive force, in violation of his rights pursuant to the Fourth
and Fourteenth Amendments of the United States Constitution.

That upon information and belief, in 2020, Defendant CITY had a policy or routine
practice of using excessive force when effectuating arrests. Plaintiff specifically alleges
causes of action pursuant to Monell v. Dep't of Soc. Servs., 436 U.S. 658.

That upon information and belief, it was the policy and/or custom of Defendant CITY to
inadequately train, supervise, discipline, and/or terminate their officers, staff, agents and
employees, thereby failing to adequately discourage further constitutional violations on
the part of their officers, staff, agents and employees.

That as a result of the above described policies and customs, the officers, staff, agents and
employees of Defendant CITY, believed that their actions would not be properly
monitored by supervisory officers and that misconduct would not be investigated or

sanctioned, but would be tolerated.
  

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That the above described policies and customs demonstrate a deliberate indifference on
the part of the policymakers of Defendant CITY to the constitutional rights of arrestees
and were the cause of the violations of EZAGUI’s rights alleged herein.

By reason of the foregoing, EZAGUI suffered physical injuries, mental injuries,
emotional injuries, economic injury, trauma, humiliation, terror, and other psychological
injuries. All of said injuries may be permanent

I]. SECOND CAUSE OF ACTION
Pursuant to §1983 (FAILURE TO INTERVENE)

Paragraphs | through 27 are hereby realleged and incorporated by reference herein.
That Defendant McCANN failed to intervene when Defendant knew or should have
known that Plaintiffs’ constitutional rights were being violated.

That Defendant McCANN had a realistic opportunity to intervene on behalf of Plaintiff,
whose constitutional rights were being violated in their presence.

That a reasonable person in Defendant McCANN’s position would know that Plaintiffs’
constitutional rights were being violated.

That by reason of Defendants’ acts and omissions, Defendant McCANN, acting under the
color of state law and within the scope of their authority, in gross and wanton disregard
of Plaintiffs’ rights, deprived Plaintiff of his right to be free of excessive force when he
failed to intervene to protect him from Defendants’ viclation of Plaintiffs’ civil rights
pursuant to the Fourteenth Amendment of the United States Constitution.

That upon information and belief, Defendants had a policy and /or custom of failing to
intervene to protect citizens from constitutional violations by police officers. Thus, as a

result of the above described policies and customs, Plaintiffs were not protected from

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Defendants’ unconstitutional actions. Plaintiffs specifically allege causes of action
pursuant to Monell vy. Dep't of Soc. Servs., 436 U.S. 658.

That upon information and belief it was the policy and/or custom of defendant CITY to
inadequately hire, train, supervise, discipline and/or terminate their officers, staff, agents
and employees, thereby failing to adequately discourage further constitutional violations
on the part of their officers, staff, agents, and employees,

That as a result of the above described policies and customs, defendant CITY, its staff,
agents and employees of defendant CITY believed that their actions would not be
properly monitored by supervisory officers and that misconduct would not be
investigated or sanctioned, but would be tolerated,

That the above described policies and customs demonstrate a deliberate indifference on
the part of the policymakers of Defendant CITY to the constitutional rights of detainees
and were the cause of the violations of Plaintiffs’ rights alleged herein.

That in so acting, Defendant CITY abused its power and authority as policymaker of the
NYPD under the color of State and/or local law.

That by reason of the foregoing, Plaintiffs suffered psychological injuries, traumatic
stress, mental anguish, economic damages, damage to reputation, shame, humiliation, and
indignity. All of said injuries may be permanent.

Ill. THIRD CAUSE OF ACTION
Pursuant to State Law (ASSAULT and BATTERY)

Paragraphs | through 38 are hereby realleged and incorporated by reference herein.
That Defendants intended to cause harmful bodily contact to EZAGUI.

That Defendants, in a hostile manner. voluntarily caused EZAGUI’s injuries.

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— 42. That Defendants’ contact with EZAGUI constituted a battery in violation of the laws of
the State of New York.

43. That by reason of the foregoing, EZAGUI suffered physical injuries, mental injuries,
emotional injuries, economic injury, trauma, humiliation, terror, and other psychological
injuries. All of said injuries may be permanent.

IV. FOURTH CAUSE OF ACTION
Pursuant to State Law (RESPONDEAT SUPERIOR)

44, Paragraphs 1 through 43 are hereby realleged and incorporated by reference herein.

45. | That Defendants were acting in furtherance of the duties owed to their employer, defendant
CITY.

46. That at all times Defendants were acting within the scope of their employment.

— 47. That Defendant CITY was able to exercise control over Defendants activities.

48. That Defendant CITY is liable for Defendants actions under the doctrine of respondeat
superior. By reason of the foregoing, Plaintiffs suffered mental injuries, emotional injuries,
economic injury, trauma, humiliation, terror, damage to reputation, and other
psychological injuries. All of said injuries may be permanent.

INJURY AND DAMAGES

As a result of the acts and conduct complained of herein, Plaintiff has suffered and will
continue to suffer, physical and emotional injury, physical and emotional pain, suffering,
inconvenience, injury to their reputations, loss of enjoyment of life and other pecuniary and non-
pecuniary losses. Plaintiff has further experienced severe emotional distress and loss of love,
services, consortium, affection, society and companionship.

— WHEREFORE, Plaintiff respectfully requests that judgment be entered:
  

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DATED:

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Awarding Plaintiff compensatory damages in a full and fair sum to be determined
by a jury;

Awarding Plaintiff punitive damages in an amount to be determined by a jury;
Awarding Plaintiff interest from May 30, 2020 and

Awarding Plaintiffs reasonable attorney’s fees purguant to 42 USC § 1988; and
Granting such other and further relief as to this Curt deems proper.

Brooklyn, New York
October 25, 2020

 

DAVID A. ZELMAN, ESO”

709\Hastern Parkway
Brodklyn, New York 11213
(718)404-3072
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ATTORNEY VERIFICATION

David A. Zelman, Esq., an attorney at law, duly admitted to practice in the Courts
of the State of New York, affirms under the penaities of perjury that:
He is the attorney for the plaintiff(s) in the above entitled action. That he has read
the foregoing Verified Complaint and knows the contents thereof, and upon information and
belief, deponent believes the matters alleged therein to be true.

The reason this Verification is made by deponent and not by the plaintiff(s) is that
the plaintiff(s) is presently in a county other than the one in which the plaintiff's attorneys
Maintain their office.

The source of deponent’s information and the grounds of his belief are

communication, papers, reports and investigation contained in the file.

DATED: Brooklyn, Ne rk
LYE -ZS 2020

David fen Esq.
